Case 1:21-cv-01261-RM-SKC Document 68 Filed 12/08/21 USDC Colorado Page 1 of 4




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-01261-RM-SKC

  Millennium Funding, Inc. et al,

          Plaintiffs,

  v.

  Surfshark Ltd. et al.,

          Defendants.


  UNOPPOSED JOINT MOTION REQUESTING ADDITIONAL PAGES FOR BRIEFING
    IN CONNECTION WITH DEFENDANT PRIVATE INTERNET ACCESS’S RULE
                      12(B)(6) MOTION TO DISMISS


          Pursuant to the Practice Standards of this Court, Defendant Private Internet Access, Inc.

  (“PIA”) and all Plaintiffs (collectively, “the Parties”) jointly and respectfully request that the Court

  allow PIA to submit a Rule 12(b)(6) Motion not in excess of 25 pages and to similarly allow

  Plaintiffs to submit a Response in opposition to PIA’s motion not in excess of 25 pages. In support

  thereof, the Parties state as follows:

          Plaintiffs filed their First Amended Complaint (the “FAC”) on August 1, 2021. ECF No.

  27, for the first time naming PIA as a defendant. After PIA notified Plaintiffs of its intention to file

  a Motion to Dismiss the FAC Pursuant to Rule 12(b)(6), counsel met and conferred on that motion

  in an effort to resolve or narrow the issues upon which PIA intended to move. Subsequently,

  Plaintiffs agreed to further amend the FAC in order to address the issues raised by PIA and PIA

  consented to such amendment.
Case 1:21-cv-01261-RM-SKC Document 68 Filed 12/08/21 USDC Colorado Page 2 of 4




         On November 18, 2021, Plaintiffs filed their Second Amended Complaint (the “SAC”).

  Docket No. 59. Although Plaintiffs’ revisions in the SAC has narrowed some of the issues upon

  which PIA originally intended to move, PIA’s position is that the revisions did not fully resolve

  all of those issues. Moreover, Plaintiffs also added several new causes of action against PIA to the

  case. Pursuant to a stipulation entered into and filed by the parties on November 22, 2021 (Docket

  No. 64), PIA’s time to answer or move in response to the SAC is December 23, 2021.

         Plaintiffs’ SAC contains two different claims of contributory copyright infringement, as

  well as claims of direct copyright infringement, vicarious copyright infringement, violations of the

  Digital Millennium Copyright Act, and breach of contract. The SAC now comprises 447 numbered

  paragraphs and 262 pages, including exhibits. PIA believes it has grounds to dismiss at least the

  direct infringement, DMCA, and breach of contract claims. Plaintiffs respectfully disagree, and

  the Parties look forward to the opportunity to address these issues with the Court.

         PIA’s position is that given the number of claims and the remedies sought, and in order to

  address Plaintiffs’ claims in an appropriately fulsome manner PIA will require additional pages

  beyond the 15 currently allowed by the Court. For example, PIA intends to argue that Plaintiffs’

  copyright infringement claims are futile because they do not and cannot allege that copies of

  Plaintiffs’ works were fixed by PIA, or that PIA acted volitionally in creating any copies of

  Plaintiffs’ works – arguments which will require a thorough examination of the law in the area.

  PIA also intends to assert that the Plaintiffs’ DMCA claims should be dismissed, for entirely

  different reasons. Plaintiffs’ breach of contract claims require similarly separate discussion as well.

         The Parties jointly believe that the interest of justice are best served by allowing both sides

  an adequate opportunity to bring, and respond to, these arguments. The Parties have agreed that


                                                    2
Case 1:21-cv-01261-RM-SKC Document 68 Filed 12/08/21 USDC Colorado Page 3 of 4




  25 pages would be sufficient for both the PIA’s Motion and the Plaintiffs’ Response, and

  respectfully request that the Court enter an order to that effect.

         In conclusion, the Parties respectfully request that the Court allow PIA to file a Rule

  12(b)(6) Motion to Dismiss not in excess of 25 pages and Plaintiffs to file a Response in opposition

  of the same length.



  Respectfully submitted this 8th day of December, 2021.



  s/Paul Fakler____________                                      s/Kerry Steven Culpepper________
  Paul Fakler
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                                                    3
Case 1:21-cv-01261-RM-SKC Document 68 Filed 12/08/21 USDC Colorado Page 4 of 4




                                  CERTIFICATE OF SERVICE

         I hereby certify that on the date below I electronically filed the foregoing with the Clerk

  of Court using the CM/ECF system which will send notification of such filing to the following e-

  mail addresses:

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  Attorneys for Plaintiffs

  DATED: New York, New York, December 8, 2021



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